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UN|TED STATES DISTR|CT COURT
EASTERN D|STR|CT OF |V||CHIGAN
SOUTHERN D|VIS|ON

JENN|FER LAKE, as Personai Representative
of the Estate of BENJA|VIIN PELCH, JR.,
Deceased,

P|aintiff,
-v- Hon. Sean Cox i

Case No. 08-14669-%

HEARTLAND - BR|ARWOOD i\/i|, LLC. d/b/a
HEARTLAND HEALTH CARE CENTER -

 

 

BR|ARWOOD, and as Successor Corporation n L §
to HEARTLAND HEALTH CARE CENTER - t
BR|ARWOOD, and/or EAST i\/||CH|GAN CARE MAR 2 2 2010 1
CORPORAT|ON and/or |ViANOR CARE, |NC.,
CLERK’S OFF|CE

Defendants. DETRO|T
SCOTT L. FEUER (P38185) W|LLiAi\/i D. CHAKLOS (P33180)
TED iVi. KOZERSK| (P36894) DAV|D C. W|EGEL (P57277)
FEUER & KOZERSK|, PC Attorneys for Defendant Heart|amd Brian/vood
Attorney for P|aintiff One Woodward Ave., Ste 2400
251 |V|erri|l St., Ste. 203 Detroit, MI 48226-5845
Birmingham, i\/i| 48009 (313) 965-7925

(248) 723-7828, Ext. 201

ORDER APPROV|NG SETTLEMENT OF WRONGFUL DEATH CLAIM

At a session of said court held in the United States
District Court, Eastern District of l\/iichigan

on MAR 2 2 ZUiU

PRESENT; THE HoNoRABLE SEAN F. OOX
U.S. District Court Judge

The Court having reviewed the proposed Order Approving Sett|ement, having taken
testimony from Persona| Representative Jennifer Lake in the presence of attorneys for the
parties,
and being otherwise advised in the premises;

iT iS HEREBY ORDERED that settlement between the parties in the amoliint of $95,000

is approved.

  

 

 

  
 
  
  
  
  
  
  
   
  
  
  

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lT |S FURTHER ORDERED that itemization of settlement proceeds is approved as

follows:

Settlement Amount $95,000.00

Less Costs 11,808.15
Net Settlement 83,191.85 1
Less one-third attorney fee 27,730.61
Net Settlement to the Estate of 55,461.24 `

Benjamin Pelch, Jr.
lT lS FURTHER ORDERED that this settlement is for the loss of society and
companionship the interested parties have suffered and not for any conscious pain and

suffering of the decedent Benjamin Pelch. f\

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u_s. Distri;:t court Judge

 

